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           Ť*Ő     gµ0Ǥ#̒ʸ̒+ˊĝ̒ʙāʹ̒ɛ̒Qø¸ș̒ŝ)Ĵ̒*)*)¦̒̊ɥ˦ʀ̒AŲ"̒,æC̒Ë̒|FCʌa̒Ʈ
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    ˺ŠA8K ő̒ Ƃʒ7ȏ̒˖̒ Čʜz̒|̒15̒6 Ǩ_ ȧâ!̒µY̒ɶʁȫ/̒̒Ư̒;˫ƻ;ɻ(FHʺ̒Lɦ̒­ʤ:Ğ̒Ƴĵ̒
    ė˨̒ ǹ ê̒¾GMÑǻ̒ Ǐʂ̒Ó9ˌ3˻»v̒Ã2̒BǼ9ă ̒ʬû̒¢>Ƀ̒˚Ȕ̒>ƙĨŴ̒ǽ˵̒
    ȶC hÛ̒ēȜɪ̒ƹ C̒Ʉ̒ ȚÕɊß̒ą̒+íúfFô̒ǳô̒ǌĎ4e̒̒4r4U̒6à̒dǪ̒¶< ̒ȳćZ̒Bɋ'̒M̒
    ?üǒõğJ̒Öʑ]̒_Œ3̂ƿÌ,7Ȑ̒Ȅ̒ʥÅ̒ģ¯Ɯ?ƃƁ̒ęŞńŧŵ̒5 ʅÓʼĘ̒o±˼ɅÔĶ̒b¹̒®å^F̒
    o°˽ ×7 ĩŶ̒̒²K̒  ̒z˶̒]SÕɑJ̒ț̒5̒ƺ{ä̒̅Ú̋̒R ̒ ̌̒+ʣʃ̒˾̑̒˗Ę̒ʐ̒
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    ̀˟̒ǩǝ̒1̒Ď:̒c0 -8sJ̒p̒Âï/̒˘X̒ çê̒ǵ̒˩ɓÀʕ ̒Ɔ  ëØ̒tɧɨ˜˄þĸ̒̒
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    ;ɥ) Đ̃9ɯ̃CȺ)~/ïƹt̃ƣ˷̃ʡV̃şɨ̃¯˝̃ǰ$̃ʭ̃˙*ȷ̃'ȕ!ˆË-̃Ǘ̃°A} ̃̃Ŭ̃ļŃđ̃«Ĵ.¨ġ̃
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    Oè̃a ̃ʅ&̃ŵê$c̃jɹ̃Ŕƽ5̃kåøɚ̀̃8 -Ǒĕ̃́̃Ĩʲ̃Jz̃ ¢ÝğÓ¶̃ Ǜ̃ŰG6̃ŕƾ̃
    Ŷé`̃̃-X̃Qɵ&WG¢Ʌ29̃ ǜ̃ŚÂ̃ŷʁ$Ė̃®ʇ ÷ ą̃íbǐd̃ őŖƀŠŝ̃̃˩BJ̃i`Ò̃
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    ɏɘ˽̃KEW`ˢ]̃ ˾Ě̃ȉ̃ˣ³ò ̃ ǟ̃ĹÑƈĩeœĪ̃̃ffgfƍĉ̃·)̃.ẽ ;ů'ſũ'ţ̃Z ̃2 ̃ʴƴ̃
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    ÞÄ ɇʢ ̃ ĭ̃\´˫̃ǳ (3ćȴʛ̃ʽƑ%̃üɧȍˀ ̃Jǿ̃9ƺD̃P ǎ8ñ̃ ̃ź ʀĂ̃ ȹîó̃ÌɃ̃Ųƙ(ĳ̃
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    iŦŅ̃OÕ̃ižhĞ̃ ̃ų=̃ĿLį̃ŀĵŁ© ̃Æǌó̃ Qaɀǅ̃E̃˵87w̃̃<F{̃ˬƞE7̃ö̃ż ,ʨ, ̃
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      *n̂NŢ%ņ̂.æQUƪƾ̂Áɉ̂ ̂M$WʲÕ̂b Iƴɡ̂-2̂¿D̂ UǴĨ̂ Ş0:,âîȃîƵ'ÝȄʨ.ĩ̂Ǐ̂q̂
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     ¦ŦM¤ŧ£̂Ňē̂*̂Ǒ̂ *+Ü̂ Dɴ̂ʕLđ˹̂Ȉâʸʈ  ǃ̂'}̂4Ǡɻk̂ȴ:̂ˣ̂
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    ¢)*̂ĿBĕ̂ŀBBĖ̂̂ñôƉʛ¼H̂Ǧȵ̂8@Gɽ\̂ Ïʒ̂~Ʈ̂L1°̂ȜȖ eˍá̂Ȁe̂Ųɑʃ̂Ǻl̂
    i¹̂ U̂!ȶǶǻ̂ǔ̂Ƀ˜ǌ˚̂ ʬr̂] ʰÎÛė̂˵:̂§ǟƕʜ̂®̂ɺW̂õ̂/Ñ˥̂ʮFƜ̂̂
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    Oæ̂#̂`;YZ/̂;Zİ̂| "Ā̂ª ̂MÖı̂
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      (ɿʡ̂ ƚ̂Ă [k̂ûɷ̂}̂¢ɰq̂Ł^̂ĻńBĳ̂ Ť̂A̂ ʢƻ˫uā´̂Ĵʿ̂{Ę̂̂àȗ?> ̂ˀʣ̂
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    ơ/ ˦nl̂ɯ>»̂  ̂\1ȋǅ̂̂È̂2Ĵ̂ ůŸšŜ̂Ǭ÷*1̂w̂8̂Ȧ Qǰ̂ɔǖ̂̂
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    EȎ³̂˷̂ Ëȸě̂`ʉʔ^̂<̂O}9_̂ ŏƧƭQȚ̂˓̂ Jr̂CíPȪ̂(ɇư̂œaŹ¡ Ĝ̂ ˂̂? ɖŷ
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    \H"\̂T÷ȫ̂˪Ș4̂ÍɅ ¹ȝ9̂ ƸȭȮþ&"̂!ǿ ̂z09SÑä̂ʦ̂NVʷġ̂#ƌĢ̂őɸ ̂̂
    N ķ̂ ƃ̂p=ș)̂˲ƒËPʧȐå̂7̂ɗȺ̂Ǚ̂˄ ̂] ̂ȑ̂Òȯ&̂T0ÓRĸ̂ ť Â˧ɦģ̂̂ ƛ̂
    Ǳ~̂ ©˨ƹ̂ ǎnɮȾ̂ˇ̂Î*̂OƆO̂Y6Ȓ˻Ʊ̂ǩ+Ĝ8 ðĎ̂˿ )̂±?ƎÉɊ ̂g x/̂
    !ɼ ǵɛ-$Ĥ̂¨|̂ǥIɆðÏ ̂ˬȡ# ̂ȓ·vƥƝ̂ú̂ ÒWŎʍ̂-3l̂ɜ˩˸̂f¾̂ ̀ì̂v́K̂̂
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           Ţ'     ƺÞ̭c̭V˿i̭ƪ˺ɬ̟̭ĵ̭pŘpoĶ̭ƶP°Ɛ§̭̭Ǯ7ː!̭`̭̭ȫí=ɭ̭ dÎɵ0â>
    ǿFɯ^ʈ ̭Ȁd^(̭Ê/×̭lL̭)ÙòG0 â\̭8å̭´ˬȁ÷̭g-̭+ßȧeWF`̭,̭ŚṶ̆ǒōSŎsŏ̧̭̭Nŧś̭ģĥķ̭"
    ă0 ǳÏ ̭,̭Ŝṷ̆²'SM¡Ǫ̭̩̭̋NŨűN̦ȊĦ̭ǫ̭NũĤ ħṋ  ̭9.̭˥ɶ̭ʔÆ̭.^̭ʱL̭̪˜̭S²rƫ£Ž̭§Ǖ;¦̭
    ̐%̭eȅ̉!̭ȶʕɷ̭Ƀ ̭Gʤ ̭ ̭Ï̥ȝ̭i̭èêȣ+ʴ̭*ă ¹ʂW'̭ Ǒ̭ǌǓ¬Q¢Ǎ̭ƈŻƇ̭ǸǠ%̭
    # 3̭Î_̭ʿʦ@̭̊"+·̭óë=}̭=˄̭ˠ̭Ɗrơ̭ wő̭Ƹ>ˣʃ ̭żɺxĸ̭ƻ ̭ŦŤpŝṶ̄" X̭
    ˝̭L"ɸ̭˞̭/j̭ǰ̭"̤yŒ̭ ƹ̭̔Ǩ ǵ4̭Ȩ̭˟̭Wʖʄ˅Ȕ ˰̭ȩ̭û̭̋ɍXÀ̭=ʻ̭ǻ(̭XàÿȂjÃº̭Ƿ̠̭
    Ǭ̭ &̭ÅÇʣʘȠ̭˻9]2˳'̭ Ƣ ̭#̡̭ˮɐ Ð̭Ü̭̕ʞʯ ¶Ḽ́ƣ̭ɥ̭̑L]Ǵœ̭û̭Sǔ¬Q;ǎ̭
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    üþēąùÿȾBSȾķȾmƽ[ ȾȾȾRƵǏȾ"&)Ȱ1 Ⱦ -Ⱦ XªȚȾħÏȾ ȾrBȾWȵXƼȾȂ Ⱦp,ȾoaȾ
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          ìîz        ƭtȾ   GȾȸ3<:ÐȾĆȾȞ#@ȾȈȾŨ*5)Ⱦ9ƀ Ⱦ ŘlȾ¹
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                Ü ĕbǝ  Ⱦ¡`ðȾ öȾ5L*[ǴȾƚŕȾËǐȾ8ƧȾ$ 1ÑȾhȾõ* .®
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                   ȍKȠȾIO dȾǮ PƜ"ÝȾ Đ=ȾǶ=Ƭź=³Ⱦ \ŃȾƁ6 ȾȎǙ.ŴȾȜǧ-Ⱦŝ
                   ȗĥŉǑëL:=¿ȻȾęĭ ǨȾ ǆ.Ƃ9ȔȾ5ƃȊȾȃ¯Ⱦ53L ´ȾaŊkȾ
                   șƹ ȾÄ ğ ȾÅȾǿƝŖ1FǯÞȾ÷ȾÀJ>>-Ⱦr>>ŻƾfWȾ&k& ÂȾ Ʋ%/3+-Ⱦ/ȾÆU/¤
                   ƩxÊȾȳŽƏ1Ⱦŀ° ȾBȾ%@ƞȾ&8ǒÒȾĜȀwȾ¥;Ⱦ ƗȾ^Ⱦ *ȾȾ½Ⱦ7
                   Ů«ȾǹBȾǍßȾ }Ⱦń$EȾ½Ⱦ8_Ⱦ'ƄUȾĹeND9ºc¦ ÓȾÁbhő ś"
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                   m gǥŰȾYȷ Ⱦ Śų<ǱȾ¦ȾÚdƠóȾ%ÖȾl¨ƖGyȾKWVȨxȾĠȾ qIƘȾ %¢
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                   Ⱦ­µȑǀ_Ⱦ v! ȾÌȾ
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             Tã |d_Ǽ£Ⱦ O ?²òȾ øȾņ(Ƈ¼ĝƣȾ iȾ("ȾȾQ²ȾǺ`%ȾJ H Ⱦ pȤȾ)$ Ⱦ ț
                  šƓ*ÙȾĩǓȾrſģȾTÃȾ& 3Ⱦ­ ŶVȾťĶ©zȾ ý(Ɣq ȾhMȾ¾·ȾȾȩí$uȾş
                  Ŧȶ Ⱦ Ⱦǟ ȪTȾ¶«iAŌȾ )ȾpȾ gǠȾȋȾǣȾ¶äȾ ĉű¸Ⱦ 
                  &sƫ tȾıXȾǤcȫ;ȾĲȹȾ ǂœǻbȾnȾ96@40Ⱦ»,ȾȾ Hs»jȾǁjȾÃȾåǃƻŁȓȾ%`Y
                  ǡƯ¿ Ⱦǲ,ǚŲȾưŔ.Ⱦ Ⱦǳǋ7ǖ!Ⱦ čŎȬĳȾ$ǛAȾZ ĚȾƈ:N;
                  ȭĦƉ.·ȾȝȾ^ȾŧaȾ \ǬȾ ǔȾĬ4ZȾĴ6JȾIƊ'æȾ ċǇqȾǸ7Ƥ
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     ú Ļȸǔʑ  ʑ¸ʄ5Ģʑ Gʑ¸ 5ɓũʑ¯ ʑºàIʑçʑ 'ʑķĘʑļ'åʑȗʑ¡Ľ éʑƾʑ
          i±ƅʑƿKk[ʑ6Cµ'K"ʑF¢ʑÁǀƷf0ʑȍk ȟ ʑCʑ(ɦ¾ʑ3ʑȎʑDǁ ìʑFǂIí
          uʑs% Ƹȏƽ.ʑƩ«ûʑ ĭß"ÝƛîʑüʑȖȺʑ ƕPʑsŨȘʑ²ʑ ʑɂ7 ȥʑ´ɛƜ
          <ƶ*ǕʑĎʑ ȅ ʑȔȈȹbʑ g/&ʑȐʅRʑʑɳʑȦ |ŪǖʑYʑ> ,
         ŃƎǷÚʑɃ ¼L9ʑ 9ʑ Ǘ+ʑ|!ǃ +ÉʑɲÂʑ 2ʑƪÂ$ʑ ǭ ȼʑřweʑș
           §£ɰʑ Bʑ&Úfýʑ ŉOʑȧ>ȋFʑɧ5ʑ 1/ǄʑŞʑʑWSʑşʑ;OÓǫ
         ƀɕʑ ħƘ°jʑ @ʑɜʑ         ïʑʑ»ȷʑ ǅʑAŏ"Sʑ ʑ%Ŗɷʑ ʑū¥ ɱʑ
         )vIʑFTʊʑǘ-';ʑǮ]Z(ʑ2ʑIǙ#ɩ ¦ʑ!ʑ²ʑ ~ʑȆƦRʑe×3ªʑơƑÙȞʑɴƹ
         UʑŐʑŲg4ťʑȊ ).Cʑn Ã\čʑ©Čʑ¼ʑʏÃþ
    0ċ ĺġʑ GʑĪľaʑQʀ K× ʑƁhÞʑDȾʑz%ʑ_Ƥȉpʑ`µÄǆC&rǐKʑaÊÒ:Ǹʑ ʑ0¤Ç¹ʑ&ɬ
         ^'Jȃʑ·śÏl°ÿʑ ĮÑʑƱʑǼÏNrWʑȨ ȚŽʑɝʑǚ ZN?ʑ}M5ʑʑʑb ,ʑ  
         _ĿʑȂɸ-ɐ ʑehɹc9ÅʑcʑLÛJʑʑDXJțʑlÛ<³Lʑ¶Sʑʂ!ǛǓǏ Ʋʑ/ƒÒ¦ 4ʑzʑŠ *ƈ
         ǜdÐPĀʑ Ŋʑɺ ʑšʑų?\£ ʑÀTſʑ 2ʑZ$ʑőƇW6ʑBʑd ¢@XʑǇǽÜÜ#
         ǾʑÅ{ƺʑǿÝ ;Î&āʑ ŇƼʑ_ 8oʑŀ V¤ɢ ¥ ʑ) ʑè³ǦmʑbŰȩʁjɎƖʑâīŁæĐ
         Ȍ=6)ʑ ƢʑĕęʑĸĤʑŌŅņʑ
                             ĥńʑ®əÄʑ OËO@ʑ$"ʑ ĩ$ʑ6\p ʑŻ Ó¨6ʑ
         ʃ>ǧʆʑŸEu!)Ɖʑ«·©ðʑ Ɗƻʑ8ɆǝoN*ʑuƚʇʑɪǯɭʑʈʑȢlʑŒ
           ŦM <8ǪʑȪȑȮȀ*ŧ 3ʑ´ƥʑÌ%ʑØȵ ʑ* Jøʑ ǰ±ʑßǑÔʑʑɄ9dǌ¬ʑt^"q
         2ʑDǱȿĂʑ ňMÆʑ Ǟʑ!Tʑʑʉʑv ñʑ{(¡@;ʑɅf.&ƨ.-YǈUʑÖɇʑ'ʑº+ǨǍm~
         áōŗkmŬǟăʑ GʑĹ`ʑ Ðrʑ ʑȯʑHQʑȫÞʑɞ #ʑǉƳQŚªĄʑ Ŏ% ʑʑĬ`
         3Y œʑ½ƋɻÁʑƴQnʑƭ ʑÍʑnÈɌʑƫ]ʑyŋɈƞąʑʑǻɵɖʑ 4Ɠ ƔʑɉʑYi-
         ȄƗ?ʑŴŘqʑ Ö -ɥŷǩ®~ʑŵǠŹ+ǡ-y"ʑɟʑŢɍ? ʍʑʑŔɣ+òʑ Ƶɯʑ8q
         W z§ǲʑ­\¨Ì{ʑ}Ǌʑʑ     ɼ­ʑ2ʑ¹Ȝƍ. (= 
    Ć     ʑG/ƆVģʑĦ ʑĳÎƌȰCʑł 7.ǢʑƄS:ʌ ȝʑǹȒoàʑã ʑŕw:6äêʑjʑʑ+ȁ<tD
         ] #BNʑ/ȠƏÆʑØʑŭʑH     A^7#Rxʑ3ʑɠʑĴ[1ȱ[,ʑ %(įʑƂ"(ʑ<ʑƐ ȣ¬ǣʑ
         Xȡ=Éʑ 2ʑƬ]vʑ E¯ŮƝóʑ9Ŷ$ʑ ?ʑÔʑ¿3LʑďʎĖôʑƙ85Ëʑ A:¾&ʑ 
         đėĔ,ěĜĠĝćĒĞğëĈʑ ĨFȽʑ0hɿ HʑÕɊʑȇĵZʑɨʑɡʑǬɋǳyʑH¶>sEɗ¿ʑ ^xÑʑű
         ɀÇ=ʑ4ʑİʑ0ƃTƟɁʑ( ʑ$ʑȲʑȤƧʑ1 [ʑƯ Ǵʑ4ʑ0ǒ*ʑɒʑÕ
         cǵAE)1Àʑ !ʑůʑǎȭ*ʑ»BA:BǤʑƮǶʑE½ʑÍʑɮʑ1Êɑ@ɤ ,ʑ Ķ Vʑ ɘȳ
         xȻPʑȓȴɽǋʑż ɫǥʑʑ5Ť;ʑƣʑıʑ!ȬV#ĉʑ a ʑ ȕɶɏ'Xʑ%ɾʑUɔ7ź
          =(õʑ Ŝ/RUÈöʑ} ʑ )$wʑǺ+ɚȶʑ%|#ʑʋ >Pʐ M7ʑ÷
         ưtÙ147pʑiţgžùĲʑŝĊƠ,
                                          ēĚʑ
              Ƙ 1¤% ȞŰĀʇĨ3ʇĘȟnʇ6iʇʇŃʇɞ¬IǐʇƇʇ  Ȳ0mʇ¦ʇɆ!±ʇǔŸÈ
                 ƆB)!ʇÇʇ^ qD(ÄʇƶƱʇŷXƬʇɇȊäʇ xɠʇ©ʇ?ʇKɚŝʇƈʇ$3ʇęȳƄ
                 Śǯ¨)[ª8ʇ%ɷűʇɴƿƅʇʇ,ʇĔaŴȠʇƤƁʇś®7ʇɄ:ʇ ǪŞʇaoȡƷE
                 ŊH J7rʇËʇ4ʇoƲʇş*Ïǂ(ʇ  pǮǅ[.ʇÒnʇVʇ«Ɉ²ʇ;/>ʇ5Eʇ2ʇ;`
                 8Loå
        Oýæ      ĈSʇǴʇǟɾʇɖǋ ǭ×ʇÓȅJ =ØʇǨʇ³j /âʇ#ʇƣǽǠʇɡ]$Ǉ+ʇ$Ƶ
  <ǫɢƉĴ=NɧG0ʄʇʇ} ɵŦȦB ǦʇǬʇȤÉV$ʇɅWưdǄŔǞʇȰ)Aƚ  ®Fʇɪ ńʇ ʇ|ȴʇ
2ɃuúøɺʇçĻȁè `t ȈȀŧãûüùÙʇĕʇǑʇ2~¿ʇM4ʇz{PĝwħʇxRį1ČyʇZ;ȩʇÆZʇƝFƥʇ
 ķ°ŅBǀɕmāʇ/ lʇȺ Ȃ,Ăʇ +ǍǕʇ _gtʇɫ-Š Ǽʇ´źȐƃvʇ°/<&ʇ ǁʇǖTɿ³ăʇēğzʇ
Ì ~Ƚ"ʇÍƸřĄʇĉ]ɣMǾɉąʇ{ĠĊʇ >ŗ\ǩĆʇÓɁŵȣʇ^ ǵȨʇN«·vʇʇǌ<ʇ  IÔʇ
jªȓƨéʇ 1§ʇÈ -ʇĹʇɽI-ŕÚʇųɼǤǊ\ʇTʇȭǶgʇĞƭʇɬƹ ʇƊʇɊ ¼ʇɟ ʇ(;dʇ
.ŖɭGrʇ¡#ʇɋGʇ$, b+ÛʇÑ5D ʇɌ ȵʇȋÌ ȪʇHʇp++8ɜʇƮʇ99ijʇµʇʇɍʇ!ɮƺ ʇ
ʇɸʇ ` .CÃſʇ ?ʇL3ʇ¾ȌʇƋʇ:2ʇÍ Ũêʇ


                                  
       Oþë      PĽʇcʇǒY*ìʇɗFǆöʇeʇɻ¯Țũ¥ŐÜʇ1ʇǓʇÄ@%ʇŹɘ ʇÎ 
)UʇkȖʇ6ǲ¬ǳǷʇƌhʇ+ʇȆʇƍʇ ǡ!íʇ ġC^ ȎǗʀÝʇɎǈ ,ÅʇÏʇŉʇɶ6*ÒŻʇɯƻUʇ,ʇ
ĚȢʇhʇNʃ ʁʇ¹ɀȘʇ¶ʇK ʇ0"ʇƎʇÂ _ʇʇÅŪʇÎ îʇ Ī ʇ ƞǰŁ5©aʇ ʇ
ȯ À 7ʇņʇIőÐūgžʇAÆ4ʇƟJ.ƼŜʇ$ǿ­ǘºʇïðʇ
       Oÿñ                 Əɩ/ʇlXșŽʇ ʇćɝŌ?£.%ʇċÞʇn@ ʇļǛAWM dʇƀǏ
ȇ"»6ʇʇŒŬʇǧȶʇDÔʇō]VəD-Řīʂʇ¹/ ʇ¦ƠȜĲȾ"EʇLƳ%ʇ Aƪȷʇ»ȧʇʇš 0 WʇɰƽƂŎʇ
Ɛʇɏʇ ț ŲKʇŤȮJ5&ťʇʇȼʇSǥsʇ&qLʇKʇơ·¨9 ʇÐ Ţ c*ʇɔʇȱ&ǜ"3ȫʇʇɐʇ
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